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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA
                         COLUMBUS DIVISION

H&L FARMS LLC, SHAUN HARRIS, and *
AMIE HARRIS,
                                   *
     Plaintiffs,
                                   *
vs.
                                   *
SILICON RANCH CORPORATION,                      CASE NO. 4:21-CV-134 (CDL)
SR LUMPKIN, LLC, INFRASTRUCTURE    *
AND ENERGY ALTERNATIVES, INC., IEA
CONSTRUCTORS, LLC, and WESTWOOD    *
PROFESSIONAL SERVICES, INC.,
                                   *
     Defendants.
                                   *

                                  O R D E R

     The jury returned a verdict on April 28, 2023, awarding

damages as follows:

     1.   $4,500,000.00 in compensatory damages in favor of Shaun

          Harris    and       against       Silicon    Ranch     Corporation,

          Infrastructure and Energy Alternatives, Inc., and IEA

          Constructors, LLC.

     2.   $4,500,000.00 in compensatory damages in favor of Amie

          Harris      and     against       Silicon    Ranch     Corporation,

          Infrastructure and Energy Alternatives, Inc., and IEA

          Constructors, LLC.

     3.   $1,500,000.00 in compensatory damages in favor of H & L

          Farms,   LLC      and   against    Silicon    Ranch    Corporation,
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          Infrastructure and Energy Alternatives, Inc., and IEA

          Constructors, LLC.

    4.    $25,0000,000.00 in punitive damages in favor of Shaun

          Harris, Amie Harris, and H & L Farms, LLC, jointly, and

          against Silicon Ranch Corporation.             It further found

          “specific intent to cause harm.”

    5.    $50,000,000.00 in punitive damages in favor of Shaun

          Harris, Amie Harris, and H & L Farms, LLC, jointly, and

          against Infrastructure and Energy Alternatives, Inc.              It

          further found “specific intent to cause harm.”

    6.    $50,000,000.00 in punitive damages in favor of Shaun

          Harris, Amie Harris, and H & L Farms, LLC, jointly, and

          against   IEA      Constructors,   LLC.      It     further   found

          “specific intent to cause harm.”

    The jury returned a verdict in favor of SR Lumpkin, LLC and

Defendant Westwood Professional Services, Inc.

    Pursuant to the Georgia Apportionment Statute, O.C.G.A. § 51-

12-33, the jury apportioned fault for purposes of compensatory

damages as follows:

    1.    Silicon Ranch Corporation:         30%

    2.    Infrastructure and Energy Alternatives, Inc.:             40%

    3.    IEA Constructors, LLC: 30%




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The   jury   also    answered       “Yes”        to   the   following      two     written

questions:

      1.     Do you find by a preponderance of the evidence that

             Infrastructure          and         Energy     Alternatives,           Inc.’s

             negligence proximately caused a violation of the NPDES

             Permit by Silicon Ranch Corporation that caused damage

             to the Plaintiffs?

      2.     Do you find by a preponderance of the evidence that IEA

             Constructors,         LLC’s    negligence       proximately         caused    a

             violation      of     the     NPDES       Permit      by    Silicon    Ranch

             Corporation that caused damage to the Plaintiffs?

      Based on the answers to these questions, the conduct of

Infrastructure and Energy Alternatives, Inc. and IEA Constructors,

LLC is imputed to Silicon Ranch Corporation pursuant to O.C.G.A.

§ 51-2-5(4).       The effect of this finding on the apportionment of

damages under Georgia’s Apportionment Statute presents an issue of

first impression under Georgia law.                     Concerned about injecting

reversible error into the case, the Court decided to have the jury

simply answer the two written questions and make specific factual

findings that the Court could apply post-verdict rather than

instruct     the    jury    on     the     issue      and   have    it    complete       the

apportionment       of     fault     part        of   the    verdict      taking        into

consideration the Court’s instructions on imputation pursuant to

O.C.G.A. § 51-2-5(4).            In retrospect, this cautious approach may


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have been a mistake.       Because the Court decided not to instruct

the jury on O.C.G.A. § 51-2-5(4), the jury was unaware of the

consequences of its answers to these questions.            And it certainly

did not consider the effect of these responses on its specific

findings regarding apportionment of fault.          It clearly found that

Silicon Ranch Corporation should be responsible for 30% of the

compensatory damages, and it would have no idea that Silicon Ranch

Corporation could be responsible for 100% of compensatory damages

based on the answers to these two questions.               The Court should

have given Plaintiffs a choice at trial:           either have the Court

instruct the jury on O.C.G.A. § 51-2-5(4) and risk reversible error

if the Court of Appeals concluded that imputation does not apply

or   forego    their   claim   for   imputation.     The   Court    finds    it

inappropriate to give the jury’s imputation findings the effect of

altering the jury’s clear findings regarding apportionment of

fault when the jury was not instructed on the consequences of

making such imputation findings and without having the opportunity

to adjust its apportionment calculations accordingly.

      Based on the foregoing, the jury verdict, and the Court’s

order dated May 1, 2023, the Court directs the Clerk to enter

judgment as follows:

      1.      In favor of Shaun Harris and against Silicon Ranch

              Corporation in the amount of $1,350,000.00.




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2.    In favor of Shaun Harris and against Infrastructure and

      Energy        Alternatives,           Inc.     in        the     amount       of

      $1,800,000.00.

3.    In favor of Shaun Harris and against IEA Constructors,

      LLC in the amount of $1,350,000.00.

4.    In    favor    of    Amie       Harris   and   against         Silicon    Ranch

      Corporation in the amount of $1,350,000.00.

5.    In favor of Amie Harris and against Infrastructure and

      Energy        Alternatives,           Inc.     in        the     amount       of

      $1,800,000.00.

6.    In favor of Amie Harris and against IEA Constructors,

      LLC in the amount of $1,350,000.00.

7.    In favor of H & L Farms, LLC and against Silicon Ranch

      Corporation in the amount of $450,000.00.

8.    In favor of H & L Farms, LLC and against Infrastructure

      and    Energy        Alternatives,        Inc.      in    the     amount     of

      $600,000.00.

9.    In    favor     of    H     &    L    Farms,   LLC       and    against      IEA

      Constructors, LLC in the amount of $450,000.00.

10.   In favor of Shaun Harris, Amie Harris and H & L Farms,

      LLC, jointly, and against Silicon Ranch Corporation in

      the amount of $25,000,000.00.




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11.   In favor of Shaun Harris, Amie Harris and H & L Farms,

      LLC, jointly, and against Infrastructure and Energy

      Alternatives, Inc. in the amount of $50,000,000.00.

12.   In favor of Shaun Harris, Amie Harris and H & L Farms,

      LLC, jointly, and against IEA Constructors, LLC in the

      amount of $50,000,000.00.

13.   Plaintiffs shall receive post-judgment interest at the

      legal rate.

14.   Plaintiffs shall receive injunctive relief as directed

      by the Court.

15.   Plaintiffs shall recover their costs from Silicon Ranch

      Corporation,       Infrastructure      and   Energy     Alternatives,

      Inc., and IEA Constructors, LLC.

16.   Judgment shall be entered in favor of SR Lumpkin, LLC

      and    Westwood      Professional         Services,       Inc.,       with

      Plaintiffs recovering nothing from them.

17.   Westwood Professional Services, Inc. may recover its

      costs from Plaintiffs.

18.   SR    Lumpkin,     LLC   shall   not    recover     its   costs       from

      Plaintiffs.      Although SR Lumpkin, LLC is technically a

      prevailing party in this action, it does not appear to

      the Court that SR Lumpkin, LLC incurred any independent

      costs to defend this action.              Rather, SR Lumpkin, LLC

      joined every filing made by Silicon Ranch Corporation


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      and jointly participated in discovery with Silicon Ranch

      Corporation.       Based on the Court’s review of the docket

      and its knowledge of this action, most of the joint

      Silicon Ranch Corporation/SR Lumpkin, LLC discovery and

      filings   focused     on   issues   related    to    Silicon   Ranch

      Corporation.       To allow SR Lumpkin, LLC to recover its

      costs under these circumstances could undermine the

      Plaintiffs’ recovery of costs against Silicon Ranch

      Corporation. For all these reasons, SR Lumpkin, LLC

      shall not recover its costs from Plaintiffs.

IT IS SO ORDERED, this 3rd day of May, 2023.

                                     S/Clay D. Land
                                     CLAY D. LAND
                                     U.S. DISTRICT COURT JUDGE
                                     MIDDLE DISTRICT OF GEORGIA




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